                           IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

   UNITED STATES OF AMERICA,                        )
                                                    )
                         Plaintiff,                 )
                                                    )
   v.                                               )           No. 3:19-CR-220-TAV-DCP
                                                    )
   BRYAN CORNELIUS, et al.,                         )
                                                    )
                         Defendants.                )


                               REPORT AND RECOMMENDATON

          All pretrial motions in this case have been referred to the undersigned pursuant to 28 U.S.C.

   § 636(b) for disposition or report and recommendation regarding disposition by the District Court

   as may be appropriate. This case is before the Court on Defendant Bryan Cornelius’s Motion to

   Suppress Intercepted Communications by Wiretap [Doc. 242] and Defendant Gage Whittenberg’s

   Motion to Adopt Motion to Suppress Intercepted Communications by Wiretap [Doc. 247]. In

   summary, Defendant Cornelius alleges that suppression is required because the Government failed

   to satisfy the necessity requirement as required by 18 U.S.C. § 2518(1)(c). Defendant Whittenberg

   states that he is similarly situated and asks to adopt the motion and supporting memorandum [Docs.

   242 and 243]. The Government filed a response in opposition [Doc. 252].

          On December 4, 2020, the Court conducted a hearing on the motion. 1 Assistant United

   States Attorney Cynthia Davidson appeared on behalf of the Government. The following attorneys

   appeared on behalf of the Defendants: Norman D. McKellar for Bryan Cornelius and Forrest L.




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            The Court also heard Defendant Whittenberg’s Motion for Bill of Particulars [Doc. 245]
   and Motion for Disclosure of Specific Items Pursuant to Brady [Doc. 246], which will be addressed
   by a separate order.


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   Wallace for Gage Whittenberg. At the conclusion of the hearing, the Court took the matter under

   advisement.

           For the reasons set forth herein, the Court recommends that Defendant Whittenberg’s

   Motion to Adopt [Doc. 247] be GRANTED and that Defendant Cornelius’s motion to suppress

   [Doc. 242] be DENIED.

   I.     POSITIONS OF THE PARTIES

          Defendant Cornelius asks the Court to suppress all statements and information obtained

   through the wiretap, because the Government failed to satisfy the necessity requirement as required

   by 18 U.S.C. § 2518(1)(c). [Doc. 242 at1]. Defendant Cornelius states that while Federal Bureau

   of Investigation Task Force Officer Kristopher Mynatt’s (“Officer Mynatt”) affidavit alleges that

   the probable cause is based on eight controlled buys by a single confidential source (“CS-1”) over

   a four-month period, the affidavit fails to make a full and complete statement of whether other

   investigative procedures have been tried and failed or why they reasonably appear unlikely to

   succeed or to be too dangerous. [Doc. 243 at 1-2]. Defendant Cornelius maintains that the affidavit

   merely recites generalizations for typical narcotics cases and is conclusory, giving no specifics on

   the circumstances of this particular case. [Id. at 2].

          In addition, Defendant Cornelius asserts that the affidavit relies on material misstatements

   and omissions on necessity and that once those misstatements are removed, the affidavit is void of

   independent verification of why the wiretap was necessary. First, he argues that the affidavit

   includes misleading statements on physical surveillance in this case. He notes that although the

   affidavit states physical surveillance has been and will continue to be conducted, the only

   surveillance used is a single pole camera outside of 6632 Wachese Lane. [Id. at 2-3]. Next, he

   maintains that while the affidavit describes information about the activity of the drug trafficking



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   organization (“DTO”) outside of the surveilled residence of 6632 Wachese Lane, it gives no reason

   to believe continued use of the pole camera and adding actual physical surveillance would not

   produce useful information. [Id.]. Then, Defendant Cornelius argues that the affidavit misleads

   the issuing judge (District Judge Varlan) to believe agents have conducted physical surveillance

   of him (Cornelius), when the only basis for the wiretap is CS-1. [Id. at 3]. He points out that the

   affidavit admits CS-1 engaged in unauthorized criminal activity during the investigation and notes

   concern regarding CS-1’s long-term usefulness due to past drug-use and the possibility of relapse.

   [Id.]. In addition, Defendant Cornelius argues that CS-1 had limited interactions with him

   compared to the other targets and that much of the stated facts establishing probable cause with

   regard to Defendant Cornelius was based on “[Officer Mynatt]’s uncorroborated beliefs and

   opinions as to the organization of the DTO and Mr. Cornelius’ alleged role.” [Id. at 4].

           Finally, Defendant Cornelius asserts that aside from pen registers, the remaining

   information on necessity is conclusory in that Officer Mynatt’s opinions on the ineffectiveness of

   undercover agents, search warrants, interviews, grand jury subpoenas, immunity, trash searches,

   covert surveillance cameras, tracking devices, cell phone location information, financial

   investigations, and mail cover requests are not corroborated. [Id. at 3]. He maintains that with

   only limited evidence from CS-1 and pen registers, “the government improperly used the wiretap

   as the true first step in its investigation.” [Id. at 4].

           Defendant Whittenberg adopts the arguments of Defendant Cornelius, stating he “agrees

   with co-defendant Cornelius’ motion, as he is similarly situated.” [Doc. 247 at 1].

           The Government responds that the Title III Order for the subject wiretaps complies with

   18 U.S.C. §§ 2510 et seq., and the affidavit in support of the Title III Order demonstrates both

   probable cause and necessity. [Doc. 252 at 1]. The Government argues that the affidavit



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   establishes that an extensive investigation preceded the wiretap application, but despite law

   enforcement’s efforts, the goals of the investigation into the DTO had not been met. [Id. at 5]. As

   delineated in Officer Mynatt’s affidavit, the goals of the investigation included:

              discovering the full scope and identities of key personnel involved in illegal
               drug trafficking on behalf of WHITTENBERG, CORNELIUS, and the DTO;
              discovering the identities and roles of suppliers of cocaine, methamphetamine,
               heroin, and/or other drugs or controlled substances to the identified co-
               conspirators;
              discovering the identity of the main customers of WHITTENBERG and
               CORNELIUS;
              discovering the stash locations where cocaine, methamphetamine, heroin and/or
               other drugs are stored prior to distribution;
              discovering the management and disposition of proceeds generated by the
               DTO’s narcotics trafficking; and
              obtaining admissible evidence which demonstrated beyond a reasonable doubt
               that WHITTENBERG, CORNELIUS, and other Target Subjects, and any later
               identified targets, have committed or are committing the violation of the laws
               alleged herein.

   [Doc. 243-1 at ¶ 66]. 2 Officer Mynatt states that the goals will not be achieved unless the whole

   supply chain is dismantled. [Id.at ¶ 67]. He further states that despite learning important aspects

   of the composition and activities of the DTO, certain critical aspects remain unknown, including

   “the primary suppliers to WHITTENBERG and CORNELIUS, the methods and means of the

   trans-shipment of [drugs] into the Knoxville area . . . [and] of drug proceeds to the [drug] suppliers,

   the full, comprehensive methods and means of [drug] distribution in Knoxville and the surrounding

   counties, and the methods and means of laundering drug proceeds, to include the identification of

   significant assets.” [Id.].

           The Government asserts that the affidavit demonstrates that the DTO is a “violent drug

   trafficking criminal enterprise that was routinely relying on their cellular phones to conduct their



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            The affidavit of Officer Mynatt was submitted as an exhibit by both Defendant Cornelius
   [Doc. 243-1] and by the Government [Doc. 252-1]. As the first reference to the affidavit was made
   by Defendant Cornelius, all references will be to Doc. 243-1.
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   drug trafficking business,” and that it shows serious consideration was given to other investigative

   techniques in context of the stated goals. [Doc. 252 at 5-6]. Officer Mynatt states that the goals

   of the investigation could not be achieved by the pre-wiretap techniques for several reasons,

   including that physical surveillance had been and would continue to be conducted but that

   prolonged or regular physical surveillance would risk detection and compromise the investigation;

   that counter-surveillance measures had been taken by the Target Subjects 3; that a pole camera had

   been used at a DTO member’s house and while helpful, could not accomplish the stated goals of

   the investigation; that CS-1 had been used for multiple controlled purchases and CS-1’s phone had

   been consensually recorded, but all participants of the ongoing conspiracy remained unidentified,

   including the major DTO suppliers; and that toll history and pen registers/trap and trace

   information had been obtained, but information consisted of a list of phone numbers, which was

   of limited value and would not accomplish the investigative goals. [Id. at 7]. 4 The Government

   notes that the affidavit also explains that other non-wiretap techniques such as vehicle trackers,

   search warrants, subject interviews, trash pulls, and mail covers were considered, but were

   determined insufficient to accomplish the goals of the investigation and, in some cases, deemed

   too dangerous or too risky to the investigation. [Id.].

          The Government argues that law enforcement is not required to attempt every possible

   non-wiretap investigative technique before seeking a wiretap authorization, but only to “give

   serious consideration to the non-wiretap techniques prior to applying for wiretap authority,” and



          3
           The affidavit defines the “Target Subjects” as Defendants Cornelius and Whittenburg;
   Codefendants Mobley, Chatman, Bassett, Williams; and unindicted alleged co-conspirators
   Christopher Gilmore, Regge Leatherwood, Trevelle Baylis, and Anthony Baylis. [Doc. 243-1 at
   7].
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             The Court has compiled the argument set forth in page seven of the Government’s
   response, as well as the remaining information on this topic set forth in Officer Mynatt’s affidavit.
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   explain “the reasons for the investigators’ belief that such non-wiretap techniques have been or

   will likely be inadequate.” [Id. at 7-8]. The Government further argues that Officer Mynatt’s

   affidavit satisfies these requirements and that District Judge Varlan’s decision to grant the

   application for the wiretap should be accorded great deference. [Id.].

   II.    BACKGROUND

          On December 17, 2019, Defendants Cornelius and Whittenberg (“Defendants”) were

   charged in a two count Indictment with distribution of methamphetamine on July 12 and August

   23, 2019. [Doc. 4]. On February 5, 2020, a Superseding Indictment [Doc. 24] was returned

   charging them as well as numerous other defendants with multiple drug conspiracies in violation

   of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(A), conspiracy to commit money laundering in

   violation of 18 U.S.C. § 1956(h), possession with intent to distribute methamphetamine, in

   violation of 18 U.S.C. § 2 and 21 U.S.C. §§ 841(a)(1), (b)(1)(C), and 841(b)(1)(D), and firearm

   offenses under 18 U.S.C. §924(c)—in addition to the original two distribution counts. Defendant

   Whittenberg is also charged with assaulting or impeding Federal Bureau of Investigation (“FBI”)

   Special Agents in performance of official duties, by shooting at agents with a firearm in violation

   of 18 U.S.C. § 111(a) and (b).

          As part of its investigation, the Government applied for and obtained a court order

   authorizing a Title III wiretap, submitting Officer Mynatt’s affidavit. [Doc. 243-1 at 1]. His

   affidavit for the October 23, 2019 wiretap application, which is 81 pages in length, sought

   authorization from District Judge Thomas Varlan to intercept electronic communications

   occurring to and from three cellular telephone numbers, including (865) 456-8798, subscribed to

   by “‘Jeneca Mobley’ . . . and is being used by [Defendant] Whittenberg”; (865) 443-5338,

   subscribed to by “‘Gray Bush’ . . . and is being used by [Defendant] Cornelius”; and (865) 244-



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   5176, subscribed to by “‘Jalayah M. Manning’ . . . and is being used by [Defendant] Cornelius.”

   [Id. at 4-5]. In the affidavit, the named Target Subjects include Defendants, among others. [Id. at

   10].       The communications target a drug trafficking conspiracy involving cocaine,

   methamphetamine, and heroin. 5 [Id. at 7]. An order authorizing the interceptions of the relevant

   wire communications was signed by District Judge Varlan on the same day Officer Mynatt signed

   the affidavit. 6 See 3:19-MC-5012. Defendants were indicted on December 17, 2020, based in part

   on evidence from the wiretap.

          In Officer Mynatt’s affidavit supporting the application for the October 23, 2019 Order

   authorizing the subject wiretaps, he sets out his qualifications as a law enforcement officer and

   affiant and the grounds for seeking the wiretap authorization, and the fact that no prior applications

   for wiretaps have been sought related to the three target telephones or any of the Target Subjects.

   [Doc. 243-1 at 1-10, 56]. It describes the information expected to be obtained from intercepting

   communications from the target phone numbers, including identifying information of “associates

   of the Target Subjects . . . drug suppliers(s) [sic], significant drug customers, drug transporters and

   straw purchasers of assets . . . the leadership of the drug trafficking organization…, and the nature,

   scope, places, and methods of operations.” [Id. at 8]. The affidavit states that “[n]ormal




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              The enumerated offenses included: distribution and possession with intent to distribute
   controlled substances, and conspiracy to distribute and to possess with intent to distribute
   controlled substances, including cocaine, methamphetamine, and heroin, in violation of 21 U.S.C.
   §§ 841(a)(1) and 846; use of a communication facility (telephone) to commit, or facilitate the
   commission of drug trafficking activity, in violation of 21 U.S.C. §§ 843(b); conspiracy to commit
   money laundering, in violation of 18 U.S.C. § 1956; and aiding and abetting the named offenses
   in violation of 18 U.S.C. §2. [Doc. 243-1 at 7].
          6
            Judge Varlan entered an order authorizing the wiretap’s renewal on November 22, 2019.
   See 3:19-MC-5012.
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   investigative procedures have been tried and have failed, or were only marginally successful,

   appear unlikely to succeed if tried, or are too dangerous to employ[.]” [Id.].

             The affidavit then details the background of the target subjects and provides an overview

   of the drug investigation [Id. at 10-12], including the information already known to law

   enforcement uncovered through conventional means, such as the use of CS-1, who had been a

   customer of several of the Target Subjects for a year or more, including Defendant Whittenberg,

   and who was personally acquainted with Defendant Cornelius. The affidavit references that agents

   supervised CS-1 making numerous controlled purchases of cocaine, methamphetamine, and heroin

   from various Target Subjects, including Defendants, and supervised several recorded telephone

   conversations, text messages, and direct meetings between CS-1 and numerous Target Subjects,

   including Defendants. [Id. at 17]. Officer Mynatt notes that CS-1 is a drug abuser, who is

   cooperating with law enforcement in return for consideration on a potential pending state charge,

   but states that the information CS-1 provided about the DTO has never been false or misleading

   and was “corroborated by information obtained from various law enforcement databases, physical

   surveillance, through controlled drug purchases, toll/pen-trap records, and consensually-recorded

   meetings, and phone calls and text messages that CS-1 had with many of the Target Subjects.”

   [Id. 17-18]. He further attests that CS-1 is not able to provide full information that would identify

   all participants of the conspiracy or the scope of the DTO, specifically noting that the major DTO

   suppliers remain unidentified. [Id. at 59]. Additionally, Officer Mynatt points out that CS-1’s

   continued assistance in the investigation depends on his ability to remain drug free. [Id. at 60].

   The affidavit also details the investigative findings resulting from toll record and pen register

   analysis, as well as toll analysis of calls and/or SMS text messaging on the target phones. [Id. at

   50-55].



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          With respect to the need for interception, the affidavit states that Officer Mynatt believes

   that original interceptions of communications over target phones “will enable the government to

   positively identify the Target Subjects, their suppliers, all or a significant number of their

   customers and associates, and significant assets, all of which will further the goals and objectives

   of this investigation.” [Id. at 56]. The affidavit further notes that the current state of the

   investigation would position the Government to successfully prosecute only the lower-level

   portion of the DTO and that intercepting wire communications will enable agents to “identify

   higher-level suppliers to WHITTEBERG and CORNELIUS . . . [and] all or a majority of the most

   culpable participants of this DTO.” [Id. at 58]. Officer Mynatt explains that the requested

   interceptions, combined with future Title III authority to intercept phones used by higher-level

   suppliers, “will enable agents to identify all or a majority of the most culpable participants of this

   DTO”—leading to the eventual dismantling of the entire DTO and seizure of assets. [Id.].

          Officer Mynatt includes an explicit discussion of other alternative techniques of

   investigation, namely: physical surveillance; undercover agents; search warrants; interviews/grand

   jury subpoenas/immunity; trash searches; and attempted use of other surveillance techniques,

   including covert surveillance cameras, vehicle tracking devices, real-time location information

   from cellular phones, pen registers/trap and trace devices, financial investigations, and mail cover

   requests, noting that each method has either been tried and failed or of limited success, appeared

   unlikely to succeed, or was considered too dangerous to employ. [Id. at 60-76]. As to physical

   surveillance, the affidavit states that “physical surveillance has been and will continue to be

   conducted” but that it has “proven to be difficult due to DTO’s use of various locations, some

   known and unknown.” [Id. at 60–61]. It describes the use of a covert pole camera outside of 6632

   Wachese Lane, a residence located at the end of a dead-end street, stating information obtained is



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 limited due to such things as: the distance of the camera making positive identification of the

 subjects coming and going from the residence extremely difficult; tag information obtained from

 several vehicles observed has been related to rental vehicles “and often those are rented in the

 names of others;” and most people park in the rear of the residence and out of view of the pole

 camera. [Id.]. Despite its limited success, the affidavit explains that physical surveillance will

 likely play an “important role in the take-down phase of this investigation once all significant co-

 conspirators have been identified and evidence of their involvement in the conspiracy has been

 established,” but at the current phase of the investigation, not enough evidence has been developed

 to achieve the goals, “and physical surveillance, even combined with other law enforcement

 techniques and evidence gathered thus far, is insufficient to achieve those goals at this time.” [Id.

 at 62].

           In discussing other alternative traditional investigative techniques, the affidavit details that

 the use of uncover agents (“UCA”) normally requires a CS introducing the UCA to the Target

 Subjects. [Id. at 62]. Officer Mynatt states that in his opinion, CS-1, who is able to make buys,

 could not successfully introduce a UCA to the Target Subjects to do anything more than make

 additional controlled drug buys. [Id.]. He explains that the Target Subjects are either “confirmed

 members or close associates of the Gangster Disciple Street Gang” and that to obtain information

 about the structure and activities of the DTO, he believes a UCA would likely be requested to

 perform activities that are too dangerous or illegal, such as to use or sell drugs or participate in

 illegal drug trafficking and money laundering.” [Id. at 62-63].

           Additionally, the affidavit discusses search warrants having not yet been executed as part

 of the investigation because of the DTO’s transient nature of operations, the unknown identities of

 the sources of supply, and unknown locations of stash houses. [Id. at 64-65]. Officer Mynatt



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 explains his belief that information obtained from the wiretap intercepts will assist in identifying

 other locations such that “the use of search warrants on all identifiable locations will have greater

 success in dismantling the DTO.” [Id. at 64]. With respect to interviews or a grand jury

 investigation, the affidavit discusses why they have not been utilized at that point, and why they

 would not achieve the goals of the investigation. Moreover, it explains how attempted interviews

 and service of grand jury subpoenas upon persons involved in the DTO could also risk compromise

 of the investigation. [Id. at 66-67].

        In addressing trash searches, the affidavit notes that they would be of limited value and not

 worth the risk of detection. [Id. at 67]. The affidavit specifically discusses potential issues with

 attempting such searches at locations under investigation. For example, it states that at the 6632

 Wachese Lane residence, the pole camera used in surveillance has never detected trash being

 discarded from the residence and that it is unknown how the trash is removed. [Id. at 68]. The

 affidavit further explains that at 603 Tate Street, Rockwood, Tennessee, where drugs have been

 obtained from the DTO, “there are surveillance cameras located on the outside of the residence

 providing coverage of the street and other areas of the exterior of the residence,” therefore attempts

 to collect trash would be noticed and potentially alert DTO members to the investigation. [Id.].

 In addition, the affidavit notes that it is unlikely any useful evidence would be found at the 4235

 Plummer Road residence because Defendant Whittenberg has taken steps to separate that location

 from his illegal activity. [Id.]. Finally, Officer Mynatt states that based on his training and

 experience, “it is highly unlikely that examination of discarded trash would reveal the scope of the

 overall DTO or provide information regarding the drug suppliers or distributors.” [Id. at 69].

          In regard to attempted use of other surveillance techniques, Officer Mynatt explains his

 belief that the use of covert surveillance cameras or the expanded use of the cameras would not



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 achieve the goals of the investigation, because of the methods the Target Subjects employ to

 distribute drugs to their customers. [Id.]. First, he states that law enforcement’s observation of

 drug transactions is impaired due to the Target Subjects’ use of residential homes to conduct drug

 transactions, where customers park and walk behind the residences for a short period of time and

 then leave, followed shortly afterwards by the Target Subjects. [Id. at 69–70]. Next, he explains

 that at least one controlled buy was conducted in the parking lot of an open business located in a

 densely populated area making physical surveillance difficult. [Id. at 70]. Then, Officer Mynatt

 goes on to explain that the use of vehicle tracking devices had also been contemplated, but that the

 risk of detection was determined to outweigh the potential value. He notes that the “Target

 Subjects’ use of passenger vehicles is not fully known,” that agents could not learn from such

 devices how movements of a targeted vehicle specifically relate to the DTO, and that “several of

 the Target Subjects have been observed operating different vehicles, to include rental cars and cars

 registered to other people.” [Id. at 70-71]. Finally, Officer Mynatt addresses the use of court-

 authorized, real-time location information for cellular phones. He discusses that while there is no

 risk associated with obtaining the information, it is most valuable when used in conjunction with

 wiretaps indicating when a drug transaction is about to occur and establishing physical surveillance

 of the transactions. [Id. at 71].

         In terms of other investigative techniques, the affidavit also discusses pen register/trap and

 trace devices, toll record analysis, subscriber information, financial investigations, and mail cover

 requests. [Id. at 74-76]. With respect to pen registers/trap and trace and toll information, Officer

 Mynatt states that they have been and would continue to be used in the investigation, but the

 information “has not established the identities of all the persons called or the contents of the

 conversations.” [Id. at 74]. Further, he states that there was little or no meaningful subscriber



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 information on the Target Telephones, which was typically the case with phones used by drug

 traffickers. [Id.]. With regard to a financial investigation, Officer Mynatt states that he and other

 FBI personnel are conducting such an investigation of the Target Subjects, but that “[it] is expected

 to complement the drug investigation, not take its place.” [Id. at 75]. At the time of the affidavit,

 Officer Mynatt states that “drug trafficking business operates on a cash-basis,” that “it appears that

 the DTO does not utilize any sort of sophisticated money laundering techniques,” and that a full

 financial investigation is impossible because not all members of the DTO have been identified.

 [Id.]. Lastly, Officer Mynatt discusses mail cover requests, and states that “[t]here is no indication

 that any subject of the investigation is using the mail to conduct drug trafficking or other criminal

 business.” [Id. at 76].

 III.   ANALYSIS

        Title III of the Omnibus Crime Control and Safe Streets Act of 1968, 18 U.S.C. § 2510, et

 seq., governs the interception of oral and electronic communications.       Interception of oral and

 electronic communications is generally prohibited, 18 U.S.C. § 2511, and no communication, or

 evidence derived from such communication, that is intercepted in violation of Title III may be used

 as evidence at trial, 18 U.S.C. § 2515. However, the Government may apply to a district judge for

 the interception of a wire or oral communication, and the judge may order, in conformity with §

 2518, the interception of oral and /or electronic communications by a federal investigating agency

 for evidence of drug trafficking crimes. See 18 U.S.C. § 2516 (1)(e).

        As with search warrants generally, the judge authorizing a wiretap must find “probable

 cause for belief that an individual is committing, has committed, or is about to commit a particular

 offense[,]” such as drug trafficking. 18 U.S.C. § 2518(3)(a); United States v. Alfano, 838 F.2d

 158, 161 (6th Cir. 1988) (holding that the “basic standards for a wiretap are similar to those for a



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 search warrant, but there also must be strict compliance with Title III”). The judge must also find

 “probable cause for belief that particular communications concerning that offense will be obtained

 through such interception[,]” that “normal investigative procedures have been tried and have failed

 or reasonably appear to be unlikely to succeed if tried or to be too dangerous[,]” and probable

 cause to believe that the telephones from which the communications are to be intercepted are being

 used in connection with the offense or are commonly used by the suspected individual. 18 U.S.C.

 § 2518(3)(b)-(d).

          A valid authorization is presumed unless an “aggrieved person” challenging the electronic

 surveillance makes a prima facie showing that it was not so authorized. See 18 U.S.C. § 2510(11)

 (defining “aggrieved person” as someone who was a party to any intercepted communication or a

 person against whom the interception was directed). “Any aggrieved person in any trial, hearing,

 or proceeding in or before any court . . ., may move to suppress the contents of any wire or oral

 communication intercepted pursuant to this chapter, or evidence derived therefrom, on the grounds

 that—”

                 (i)     the communication was unlawfully intercepted;

                 (ii)    the order of authorization or approval under which it was
                         intercepted is insufficient on its face; or

                 (iii)   the interception was not made in conformity with the order
                         of authorization or approval.

 18 U.S.C. § 2518(10).

          The Court notes that in a case in which law enforcement obtained a search warrant, the

 defendant bears the burden of proving the constitutional violation. United States v. Feldman, 606

 F.2d 673, 679 n.11 (6th Cir. 1979). The same is true with regard to Title III wiretaps: “‘[A] wiretap

 authorization order is presumed proper, and a defendant carries the burden of overcoming this



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 presumption.’” United States v. Kelley, 596 F. Supp. 2d 1132, 1143 (E.D. Tenn. 2009) (quoting

 United States v. Quintana, 70 F.3d 1167, 1169 (10th Cir. 1995)).

        In turning to the substance of the instant motion, Defendants seek to suppress all evidence

 obtained as a result of the interception of the subject wiretaps on the basis that the application and

 order authorizing the wiretap do not meet the necessity requirement of 18 U.S.C. § 2518. The

 Government maintains that the Title III Order complies with 18 U.S.C. § 2510 et seq., and the

 affidavit in support of the Title III Order demonstrates necessity. The Government further argues

 that even if the affidavit is deemed defective in showing necessity, suppression is not appropriate

 under Herring v. United States, 555 U.S. 135, 136 (2009). [Doc. 252 at 3-4]. 7

        As previously detailed, Defendants assert that Officer Mynatt’s affidavit in support of the

 wiretap application fails to make a full and complete statement of whether other investigative

 procedures had been tried and failed or reasons as to why other techniques reasonably appear

 unlikely to succeed. They argue that the affidavit contains merely generalized language of

 necessity for typical narcotic cases and is conclusory, giving no specifics on the circumstances of

 this case. They further claim the affidavit relies on material misstatements and omissions as to

 necessity.




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          As the Court has not found that the Title III affidavit is defective in necessity, the Court
 will decline to address in great detail the Government’s arguments regarding the application of
 Herring. The Court notes, however, that in United States v. Rice, 478 F.3d 704, 711 (6th Cir.
 2007), the Sixth Circuit held that “the good faith exception to the warrant requirement is not
 applicable to warrants obtained pursuant to Title III.” Courts citing Rice have uniformly
 acknowledged that the Sixth Circuit declined to extend the good faith exception to Title III wiretap
 cases. See, e.g., United States v. Barajas, 710 F.3d 1102, 1110 n.4 (10th Cir. 2013); United States
 v. Spann, 409 F. Supp. 3d 619, 624 (N.D. Ill. 2019); United States v. Montgomery, 290 F. Supp.
 3d 396, 415 (W.D. Pa. 2018); United States v. Houston, No. 1:13-CR-37, 2015 WL 1061971, at
 *12 n.7 (E.D. Tenn. Mar. 11, 2015).

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        The Title III necessity requirement protects against the use of a wiretap as the initial step

 in an investigation. “This provision, commonly referred to as the ‘needs statement provision,’ was

 designed to insure that wiretapping is not resorted to in a situation where traditional investigative

 techniques ‘would suffice to expose the crime.’” United States v. Young, 847 F.3d 328, 343 (6th

 Cir. 2017) (quoting United States v. Alfano, 838 F.2d 158, 163 (6th Cir. 1988)). There is not a

 requirement, however, that the “government . . . prove that every other conceivable method has

 been tried and failed or that all avenues of investigation have been exhausted.” Alfano, 838 F.2d

 at 163 (citing United States v. Brown, 761 F.2d 1272, 1275 (9th Cir. 1985)). Rather, as the Sixth

 Circuit has stated:

        All that is required is that the investigators give serious consideration to the non-
        wiretap techniques prior to applying for wiretap authority and that the court be
        informed of the reasons for the investigators’ belief that such non-wiretap
        techniques have been or will likely be inadequate. While the prior experience of
        investigative officers is indeed relevant in determining whether other investigative
        procedures are unlikely to succeed if tried, a purely conclusory affidavit unrelated
        to the instant case and not showing any factual relations to the circumstances at
        hand would be . . . inadequate compliance with the statute.

 United States v. Rice, 478 F.3d 704, 710 (6th Cir. 2007). The Sixth Circuit has further declared

 that the Title III necessity requirement “do[es] not require proof of the absolute impossibility of

 all other means. Instead, a reasonable statement of the consideration or use of other investigative

 means is adequate . . . .” Alfano, 838 F.2d at 164.

        “In order to conduct electronic surveillance using a wiretap, federal law enforcement

 officials must secure authorization by making an application containing ‘a full and complete

 statement as to whether or not other investigative procedures have been tried and failed or why

 they reasonably appear to be unlikely to succeed if tried or to be too dangerous.’” Young, 847 F.3d

 at 343 (quoting 18 U.S.C. § 2518(1)(c)). “‘[W]hat is needed is to show that wiretaps are not being




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 routinely employed as the initial step in criminal investigation.’” Id. (quoting Alfano, 838 F.2d at

 163) (cleaned up). 8

          “Because the necessity requirement is a component of Title III, and because suppression is

 the appropriate remedy for a violation under Title III, where a warrant application does not meet

 the necessity requirement, the fruits of any evidence obtained through that warrant must be

 suppressed.” Rice, 478 F.3d at 710. However, “a wiretap authorization order is presumed proper,

 and a defendant carries the burden of overcoming this presumption.” Kelley, 596 F. Supp. 2d at

 1143 .

          In its analysis, the Court will first address Defendants’ general contention regarding lack

 of necessity and then turn to Defendants’ argument that the affidavit relied on material

 misstatements and omissions on necessity.

          A.     Necessity

          The issuance of a wiretap requires “no specific formula,” and the “evidence must be judged

 on the totality of the circumstances[.]” Alfano, 838 F.2d at 161 (citation omitted). Whether an

 application satisfies § 2518(1)(c) must be determined “‘in a practical and common sense fashion.’”

 Rice, 478 F.3d at 717 (quoting United States v. Landmesser, 553 F.2d 17, 20 (6th Cir. 1977)). An

 application relying on purely conclusory statements and not showing any factual relations to the

 case would be insufficient. Landmesser, 553 F.2d at 20. Here, such is not the case as the affidavit

 sufficiently discusses the considerations of other investigative procedures as they relate to the case

 at hand. The fact that Officer Mynatt’s affidavit relies in part on some general statements of his

 prior experience with certain non-wiretap investigative techniques in drug trafficking cases does




          8
          See United States v. Joiner, 727 F. App’x 821, 827 (6th Cir. 2018) (using “cleaned up”
 parenthetical to remove internal quotations and alterations to the language of the cited opinion).
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 not render the application insufficient. Id. (finding the “mere fact that the affidavit . . . rested in

 part on statements that would be equally applicable to almost any . . . case [of this kind] does not

 render the affidavit insufficient” so long as there is “information about particular facts . . . which

 would indicate that wiretaps are not being routinely employed as the initial step in criminal

 investigation”) (internal quotation marks and citations omitted); see, e.g., United States v. Wright,

 635 F. App’x 162, 167 (6th Cir. 2015).

        As required, the affidavit informs the issuing court of the reasons law enforcement believes

 that other traditional investigative techniques, which need not include every imaginable method,

 “have been or will likely be inadequate.” United States v. Lambert, 771 F.2d 83, 91 (6th Cir.

 1985). In the background previously detailed, Officer Mynatt explains his view as to the need for

 wiretap interception as well as the evidence he expects to obtain through the interceptions. With

 respect to various other investigative techniques, Officer Mynatt discusses why, in his opinion,

 each had been or would be inadequate in this case, including specifics about the investigation of

 Defendants’ alleged DTO. See Wright, 635 F. App’x at 167 (“Upon reviewing these affidavits,

 we are convinced that SA Porrini offered case-specific examples as to why traditional surveillance

 techniques would not achieve the goals of the investigation, contrary to Colbert’s assertion of

 ‘boilerplate’ language.”).

        Contrary to Defendants’ assertions, sufficient information is set forth in the affidavit to

 comply with the necessity requirement, and Defendants have not met their burden to overcome the

 presumption that the wiretap authorization signed by District Judge Varlan is proper. While law

 enforcement had attained some level of understanding as to the DTO through the use of CS-1 and

 controlled buys, such did not preclude them from seeking and obtaining authorization for wiretaps.

 United States v. Stewart, 306 F.3d 295, 305 (6th Cir. 2002) (“[T]he mere fact that some



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 investigative techniques were successful in uncovering evidence of wrongdoing does not mandate

 that a court negate the need for wiretap surveillance.”). The Sixth Circuit has observed that

 “wiretapping is particularly appropriate when the telephone is routinely relied on to conduct the

 criminal enterprise under investigation,” and this investigation involved such an enterprise. Id. at

 305 (quoting Landmesser, 553 F.2d at 20).

        In this case, the affidavit provided to District Judge Varlan as the basis for the wiretap

 application is sufficiently detailed and includes more than just generalized statements about drug

 trafficking organizations. Not only does Officer Mynatt reference his training and experience to

 support his discussion of reasons for his belief that other investigative techniques have been or will

 likely be inadequate, he also includes “particular facts of the case at hand, which would indicate

 that a wiretap is not being ‘routinely employed as the initial step in criminal investigation.’”

 Landmesser, 553 F.2d at 20 (citing United States v. Giordano, 416 U.S. 505, 515 (1974)).

 Specifically, as explained in the affidavit, the way the Target Subjects allegedly conducted

 activities related to the DTO, including the use of various known and unknown locations, the use

 of rental cars, and the close membership and association of the Target Subjects, combined with

 concerns about the long-term usefulness of CS-1, made many of the alternative investigative

 techniques such as trash pulls, physical surveillance, and infiltration of undercover officers,

 dangerous, difficult, or impossible. In addition, the affidavit states that law enforcement would

 have been unable to discover the full scope of the alleged conspiracy, and to achieve the goals of

 the investigation into the DTO, without the wiretaps.

        As previously detailed, in discussing physical surveillance, Officer Mynatt explains that

 law enforcement attempted physical surveillance on multiple occasions, but with little success. He

 describes the use of the pole camera outside of 6632 Wachese Lane and its limited success given



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 that the residence is located on a dead-end street and vehicles are parked in the rear of the residence,

 out of the camera’s view. Additionally, he notes that the distance of the camera makes it difficult

 to positively identify subjects at the residence and that tag information obtained from several

 observed vehicles has been related to rental vehicles. He further observes that the pole camera has

 never detected trash being discarded from the residence.

         As to the other residences mentioned in the affidavit, Officer Mynatt discusses that agents

 have observed surveillance cameras on the outside of 603 Tate Street, a place where drugs have

 been obtained from the DTO, and therefore investigative methods, such as collecting trash, would

 be noticed and likely alert DTO members to the investigation. With respect to 4235 Plummer

 Road, Officer Mynatt states that it is unlikely that any useful evidence would be found at that

 residence, because Defendant Whittenberg has taken steps to separate that particular location from

 the illegal activity. He adds that based on his training and experience, any examination from a

 trash pull would not likely reveal the scope of the overall DTO or provide information about its

 drug suppliers or distributors.

         The affidavit further explains how the goals of the investigation could not be achieved

 through the use of other surveillance techniques due to the way in which the Target Subjects

 conduct drug transactions—out of sight behind a residence or in a densely populated parking lot

 of a business—making surveillance difficult. It also discusses that the Target Subjects had been

 observed operating different vehicles, including rental cars and vehicles registered to other people,

 so that any derived value from the use of vehicle tracking devices was outweighed by the risk of

 detection. The affidavit further notes that the use of GPS information for cellular phones was

 considered to be of value in the investigation, but explains it would be most valuable when used




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 in conjunction with wiretap information indicating when a drug transaction will occur so that

 agents are able to physically surveil the transaction.

        While CS-1 had been successful in making controlled buys from various Target Subjects,

 including Defendants, Officer Mynatt explains that he would not be able to successfully introduce

 a UCA to the Target Subjects to do anything more than make additional controlled drug buys

 because of the close membership and association of the Gangster Disciple Street Gang. Moreover,

 he believes that efforts to use a UCA to obtain information about the DTO’s structure and activities

 would be too dangerous because the UCA would likely be requested to perform illegal activities

 such as participating in drug trafficking and money laundering.

        Officer Mynatt’s affidavit addresses the insufficiency of search warrants as a feasible

 alternative to a wiretap, noting the DTO’s transient nature of operations and stating that the

 identities of the sources of supply and locations of stash houses were still unknown. He adds

 however, that it is his belief that wiretap information will assist in making the identifications and

 that the use of search warrants will then have greater success in dismantling the DTO. Officer

 Mynatt notes that grand jury investigation was not a feasible alternative at that point either, because

 attempted interviews and service of grand jury subpoenas upon those involved in the DTO would

 risk compromising the investigation.

        Finally, Officer Mynatt details that the pen registers/trap and trace and toll information had

 been and would continue to be used, although it had not led to the identities of all persons involved

 in the calls. He also stated that a financial investigation was in the works but that not all DTO

 members were identified and it appeared they were operating on a cash basis. Officer Mynatt

 concludes that a mail cover request would not be of value as the investigation had not uncovered

 any indication that the DTO used mail to conduct drug trafficking or other criminal business.



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        All of the above discussed information in the affidavit shows that law enforcement gave

 “serious consideration to the non-wiretap techniques prior to applying for wiretap authority,”

 explains the extent to which the Government utilized the alternative methods, and informs the

 Court regarding reasons the non-wiretap techniques had been or were believed to be inadequate.

 See United States v. Alfano, 838 F.2d 158, 163-64 (6th Cir. 1988). This is all that the law requires.

 See id. Contrary to the contentions of Defendants, including that the affidavit used generalized

 and conclusory language on necessity, there is sufficient information set forth by Officer Mynatt

 to comply with the necessity requirements of Title III. See 18 U.S.C. § 2518(1)(c). An affidavit’s

 partial reliance on “‘statements that would be equally applicable to almost any . . . case [of this

 kind] does not render the affidavit insufficient’ so long as there is ‘information about particular

 facts . . . which would indicate that wiretaps are not being routinely employed as the initial step in

 criminal investigation.’” Wright, 635 F. App’x at 167 (quoting Landmesser, 553 F.2d at 20)

 (omissions and alteration in original).

        While Defendant Cornelius argues that Officer Mynatt’s opinions on the ineffectiveness of

 certain non-wiretap techniques such as undercover agents, search warrants, interviews, grand jury

 subpoenas, immunity, trash searches, covert surveillance cameras, tracking devices, cell phone

 location information, financial investigations, and mail cover requests are not corroborated, this is

 not the standard by which the necessity requirement is reviewed. [Doc. 243 at 3]. “Title III’s

 necessity provision requires ‘a full and complete statement as to whether or not other investigative

 procedures have been tried and failed or why they reasonably appear to be unlikely to succeed if

 tried or to be too dangerous.’” Wright, 635 F. App’x at 172 (quoting 18 U.S.C. § 2518(1)(c)).

 Defendant fails to cite to any supporting authority requiring corroboration of the affiant’s opinion

 regarding the ineffectiveness of the non-wiretap techniques. Officer Mynatt detailed how these



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 non-wiretap techniques were either determined insufficient to accomplish the goals of the

 investigation or too risky to the investigation as a whole.

        As the Sixth Circuit has instructed, the Court need not conduct “a hyper-technical and

 speculative analysis” of whether other investigative techniques might have been effective, but

 instead should examine the affidavit using “a practical and common sense” approach. Id. at 167-

 68 (quoting United States v. Branch, No. 5:12 CR 286, 2013 U.S. Dist. LEXIS 39817, at *33 (N.D.

 Ohio Mar. 13, 2013)). In so doing, the Court may rely on the affiant’s opinions, based on his

 experience, that those techniques were “unlikely to succeed if tried.”        Id. at 167 (quoting

 Landmesser, 553 F.2d at 20). Accordingly, the Court finds that the affidavit provided as the basis

 for the Title III wiretap application contained “a full and complete statement as to whether or not

 other investigative procedures have been tried and filed or why they reasonably appear to be

 unlikely to succeed if tried or to be too dangerous,” satisfying the necessity requirement of 18

 U.S.C. § 2518(1)(c). The wiretap order signed by District Judge Varlan is presumed proper, and

 Defendants have not satisfied their burden of overcoming this presumption.

        B.      Material Misstatements/Omissions

        At the motion hearing, Defendant Cornelius argued that in challenging the necessity

 requirement, he would need to introduce the testimony of Officer Mynatt in order for the Court to

 know whether there was a full and complete statement in regards to the investigative procedures

 that were used or not used. See [Doc. 288 at 5]. 9 In essence, Defendant requests this Court to hold

 a Franks-like hearing. Discussing Franks, the Sixth Circuit in Stewart explains as follows:



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           During the hearing, Attorney Wallace stated that Defendant Whittenberg was similarly
 situated to Defendant Cornelius (while distinguishing that a pen register trap and trace order was
 entered regarding Defendant Whittenberg) and also sought to challenge the “necessity” of the
 wiretap and the alleged general explanations for why other investigative techniques could not be
 performed. The Court notes that Defendant Whittenberg did not specifically address Defendant
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        The Supreme Court recognizes a defendant’s right to challenge the sufficiency of a
        previously issued and executed warrant by attacking the statements made in an
        affidavit in support of the warrant. In order to obtain a hearing, the defendant must
        make a substantial preliminary showing that a false statement knowingly and
        intentionally, or with reckless disregard for the truth, was included in the affidavit.
        If the allegedly false statement is necessary to the finding of probable cause, the
        Fourth Amendment requires that a hearing be held at the defendant’s request. The
        defendant must specifically point to the disputed portions of the challenged
        affidavit, and must support these charges with an offer of proof. If the defendant
        meets this burden, the court must then reconsider the affidavit without the disputed
        portions and determine whether probable cause still exists. If probable cause does
        not exist, the court must hold a full evidentiary hearing to determine whether the
        affidavit was properly submitted.

 United States v. Stewart, 306 F.3d 295, 304-05 (6th Cir. 2002) (internal citations omitted).

        The Sixth Circuit has applied the Franks doctrine to situations where defendants challenge

 a wiretap order on the basis that necessity has not been shown and requested an evidentiary hearing

 to determine the veracity of the agent’s statements contained in the supporting affidavit. United

 States v. Giacalone, 853 F.2d 470, 473-76 (6th Cir. 1988); see also Stewart, 306 F.3d. at 304-06.

 In this context, “the Franks analysis changes slightly to require the defendant to show that the

 necessity requirement would not have been met absent the challenged statements or omissions.”

 United States v. Bennett, No. 3:17-cr-32-DJH, 2017 WL 5339905 at *5 (W.D. KY Nov. 13, 2017)

 (citing Kelley, 596 F. Supp. 2d at).

        In his motion, Defendant Cornelius argues that the affidavit contains misleading statements

 as to the physical surveillance conducted in this case. He points to the only physical surveillance

 described in the affidavit being the use of a single pole camera outside of 6632 Wachese Lane and

 argues that the affidavit failed to explain why continued use of the pole camera and physical

 surveillance would not produce useful information and claims that the affidavit misleads the



 Cornelius’s challenge to the allegedly misleading statements concerning the physical surveillance
 conducted in the investigation, including any physical surveillance of Defendant Whittenberg, but
 in any event, the same analysis applies.
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 issuing judge to believe agents had conducted physical surveillance of him (Defendant Cornelius).

 Upon questioning by the Court at the hearing, Defendant Cornelius clarified that he sought to go

 beyond the four corners of the affidavit and obtain evidence from Officer Mynatt to determine the

 accuracy of his statements concerning other investigative procedures and whether they were

 “simply unavailable or perhaps dangerous to employ.” He urged the Court to allow him the

 opportunity “to be able to speak to the agent, to be able to ask him questions under oath to verify,

 did you provide a complete and accurate statement; did you fulfill the necessity requirement.”

        In further response to questioning by the Court, Defendant Cornelius acknowledged that

 he was required to show some misstatement or falsity in the affidavit but argued the only means

 to fulfill that burden would be to cross-examine and ask questions of the agent. Much like the

 defendants in United States v. Bussell, No. 3:10-cr-159, 2011 WL 6291799 (E.D. Tenn. 2011),

 Defendant Cornelius presented no evidence to support his allegations that Officer Mynatt’s

 statements were misleading, but requests “an evidentiary hearing with testimony about the

 investigative techniques and their products . . . because they argue that the Court should consider

 this evidence outside of the contents of the affidavits in making a fully informed determination as

 to whether the affidavits included ‘full and complete statement[s] as to whether or not other

 investigative procedures have been tried and failed or why they reasonably appear to be unlikely

 to succeed if tried or to be too dangerous.’” Id. at *9 (quoting 18 U.S.C. § 2518(1)(c)). In Bussell,

 this Court declined to allow such a hearing, finding that the district judge was in the best position

 to review the totality of the circumstances as they appeared at the time of the wiretap application.

        Similarly, the undersigned finds that Defendant Cornelius’s argument fails at the outset

 because he offers no proof that Officer Mynatt made a misleading statement in the affidavit. See

 United States v. Bennett, 905 F.2d 931, 934 (6th Cir. 1990) (explaining that a defendant requesting



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 a Franks hearing must support his allegations with “an offer of proof”). Defendant provides no

 more than a conclusory argument that the information concerning physical surveillance was

 misleading because a single pole camera outside of 6632 Wachese Lane was used and the affidavit

 purportedly failed to explain why continued use of the pole camera and physical surveillance

 would not be produce useful information. The Court rejects this argument as it has specifically

 detailed Officer Mynatt’s discussion of the limited usefulness of the pole camera as well as his

 explanation and reasoning as to why other types of physical surveillance would be ineffective.

        The Court also rejects Defendant Cornelius’s argument that the issuing judge would have

 been misled to believe that actual physical surveillance was conducted of him (Defendant

 Cornelius), when “the only basis for requesting the wiretap of Mr. Cornelius was the CS-1.” [Doc.

 243 at 4].   First, the Court notes that in United States v. Wright, the Sixth Circuit held “that

 necessity must be shown only for the investigation as a whole, not for each interceptee or target.”

 635 F. App’x 162, 172 (6th Cir. 2015). Defendant Cornelius asserts that the “CS-1 had limited

 interactions with [him] compared to the other targets,” and “with only limited evidence from the

 CS-1 and pen registers, the government improperly used the wiretap at the true first step in its

 investigation against [him].” [Id.]. Such is not borne out by the Court’s review of the affidavit

 and, in any event, does not rise to the level of “a strong preliminary showing” of “an intention to

 mislead.” See Mays v. City of Dayton, 134 F.3d 809, 816 (6th Cir. 1998); United States v. Warren,

 No. 1:15-CR-32-HSM-SKL, 2015 WL 13735393, at *4 (E.D. Tenn. July 21, 2015) (“Regarding

 the false impression created, Defendant has submitted no argument or authority to support any

 claim that a false impression is the equivalent of a false affirmative statement.”), report and

 recommendation adopted by, 2016 WL 158528 (E.D. Tenn. Jan. 13, 2016).




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        Defendant Cornelius cites to United States v. Rice, 478 F.3d 704, 710-11 (6th Cir. 2007),

 to claim that misleading statements in the affidavit similarly misled the issuing judge to believe

 that physical surveillance of him had been conducted. [Doc. 243 at 3]. In Rice, the affiant agent

 testified at the suppression hearing and answered questions related to his investigation of the case

 prior to the wiretap application—including that no physical surveillance had been conducted of

 the defendant. 478 F.3d at 708. A review of the docket in the Western District of Kentucky from

 Rice, including the District Judge’s opinion on the motion to suppress, notes that the affiant agent

 testified at the hearing on the motion to suppress. See United States v. Rice et al., No. 3:04-cr-

 083-TBR-DW (W.D. Ky. October 13, 2005) [Doc. 303]. However, in the government’s post-

 hearing response brief to the motion to suppress in Rice, the government stated that “despite the

 absence of any preliminary showing by the defendants, [the Court] granted a hearing on this issue

 over the objection of the United States.” United States v. Rice et al., No. 3:04-cr-083-TBR-DW

 (W.D. Ky. August 22, 2005) [Doc. 289].

        When addressing the defendant’s request for the affiant agent to testify in Bussell,

 Magistrate Judge Shirley discussed Rice and noted that “[t]he Sixth Circuit opinion in Rice,

 however, does not discuss any issues related to whether the agent’s testimony on those matters

 should have been allowed or required or even indicate that either party challenged the fact that he

 was testifying.” United States v. Bussell, No. 3:10-CR-159, 2011 WL 6291799, at *7 n.4 (E.D.

 Tenn. Nov. 10, 2011), report and recommendation adopted by, 2011 WL 6258827 (E.D. Tenn.

 Dec. 15, 2011). Therefore, Magistrate Judge Shirley stated that “while Rice stands as an example

 that such evidence outside of the four corners of the affidavit has been considered by district courts

 in the Sixth Circuit, the Court finds that Rice provides no framework for analyzing whether and

 when evidentiary hearings as to necessity of wiretaps should or may be held.” Id.



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         While Defendant Cornelius claims that the affidavit in the present case involved misleading

 statements, Rice is ultimately distinguishable and does not support his request for Officer Mynatt

 to testify. As detailed above, the affiant agent in Rice testified at the suppression hearing prior to

 any determination regarding whether a misleading statement was made in the affidavit or the intent

 of the officer.   In Rice, the affidavit at issue broadly stated that “[a]ll normal avenues of

 investigation have been carefully evaluated for use or have been attempted with minimal results,”

 including stating that “[t]he traditional investigative techniques utilized thus far have included . . .

 physical surveillance” and that “[p]hysical surveillance of the subjects of this investigation has

 been conducted and is presently being conducted with only limited success.” 478 F.3d 704, 707

 (6th Cir. 2007) (citation omitted). Additionally, the affidavit stated that the risk of conducting

 physical surveillance existed due to the fact that members of the criminal organization with violent

 criminal histories routinely carried firearms. Id. The district judge found that an issuing judge

 would mistakenly believe that law enforcement had conducted physical surveillance on the

 defendant and his associates. Id. Lastly, “the later testimony of Wenther [the affiant agent] at the

 suppression hearing revealed that agents had not conducted any physical surveillance on Rice and

 that they had no specific information on whether Rice carried a firearm.” Id.

         However, in the present case, Officer Mynatt’s affidavit includes specific information

 about the physical surveillance conducted through the pole camera at 6632 Wachese Lane. Officer

 Mynatt also stated that physical surveillance was difficult due to the DTO’s use of various

 locations, and the fact that the 6632 Wachese Lane address is located at the end of a dead-end

 street. Officer Mynatt provided several additional reasons why physical surveillance would not

 ultimately be effective, including the DTO’s use of rental cars. Additionally, Officer Mynatt

 averred that physical surveillance would not allow law enforcement to conclusively establish the



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 identities of the co-conspirators, as a more effective technique would be targeted physical

 surveillance coordinated with wire and electronic interceptions. [Doc. 243-1 at 60-62].

        Therefore, unlike in Rice, the affidavit reviewed the investigative efforts in great detail and

 provided specific examples of the actual physical surveillance conducted, as well as the reasons

 why surveillance would be ineffective, tied to the actions of the particular DTO. The affidavit also

 did not claim that physical surveillance would be ineffective because of an improper inference

 about Defendant Cornelius (for example, that he was armed and thus surveillance would be

 dangerous), as in Rice. Additionally, contrary to Defendant Cornelius’s argument, the affidavit

 explained why physical surveillance at the 6632 Wachese Lane address would not produce useful

 information.

        Furthermore, even if Defendant Cornelius had offered proof that Officer Mynatt presented

 misleading statements in the affidavit, his request for a Franks hearing would still be insufficient

 because he has not demonstrated that Officer Mynatt intentionally misled the Court. See Mays,

 134 F.3d at 816; see, e.g., United States v. Sims, 508 F. App'x 452, 459 (6th Cir. 2012) (“Moreover,

 even if some of them were misleading, Sims has not shown that the other elements of the

 preliminary showing necessary for a Franks hearing are present; [including that] there is no

 evidence that Agent Fitzgerald made a false statement ‘knowingly and intentionally’ . . . .”);

 Bennett, 2017 WL 5339905, at *6 (“Even if Bennett had presented proof of the alleged omissions,

 his request for a Franks hearing would still be insufficient, because he has not demonstrated that

 Mehall omitted the information because of an intent to misrepresent the facts or mislead the

 Court.”); Warren, 2015 WL 13735393, at *4 (“Even if the creation of a false impression were

 considered sufficient, however, Defendant has made no showing that any false impression was




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 created knowingly and intentionally or with reckless disregard for the truth.”). Accordingly, for

 these reasons, the Court concludes that Defendant Cornelius is not entitled to a Franks hearing.

 III.   CONCLUSION
        Accordingly, the undersigned respectfully RECOMMENDS 10 that:

         1.      Defendant Whittenberg’s Motion to Adopt Motion to Suppress Intercepted
                 Communications by Wiretap [Doc. 247] be GRANTED; and

         2.      Defendant Cornelius’s Motion to Suppress Intercepted Communications by
                 Wiretap [Doc. 242] be DENIED.

                                                Respectfully submitted,


                                                Debra C. Poplin
                                                United States Magistrate Judge




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             Any objections to this report and recommendation must be served and filed within
 fourteen (14) days after service of a copy of this recommended disposition on the objecting party.
 Fed. R. Crim. P. 59(b)(2) (as amended). Failure to file objections within the time specified waives
 the right to review by the District Court. Fed. R. Crim. P. 59(b)(2); see United States v. Branch,
 537 F.3d 582, 587 (6th. Cir. 2008); see also Thomas v. Arn, 474 U.S. 140, 155 (1985) (providing
 that failure to file objections in compliance with the required time period waives the right to appeal
 the District Court’s order). The District Court need not provide de novo review where objections
 to this report and recommendation are frivolous, conclusive, or general. Mira v. Marshall, 806
 F.2d 636, 637 (6th Cir. 1986). Only specific objections are reserved for appellate review. Smith
 v. Detroit Federation of Teachers, 829 F.2d 1370, 1373 (6th Cir. 1987).

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